Case 2:20-cv-11718-GAD-DRG ECF No. 43-1, PageID.799 Filed 01/31/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 ANTHONY EID, an individual,

       Plaintiff,

 v.
                                                      Case No: 20-cv-11718
 WAYNE STATE UNIVERSITY,
 WAYNE STATE UNIVERSITY                               Hon. Gershwin A. Drain
 SCHOOL OF MEDICINE,                                  Mag. Judge David R. Grand
 NIKOLINA CAMAJ, MARGIT
 CHADWELL, MATT JACKSON,
 RICHARD S. BAKER, and
 R. DARIN ELLIS, in their individual and
 official capacities, jointly and severally,

       Defendants.
                                                                                     /

 Mark C. Rossman (P63034)                      KIENBAUM HARDY VIVIANO
 Elizabeth M. Vincent (P76446)                  PELTON & FORREST, P.L.C.
 ROSSMAN, P.C.                                 By: Elizabeth Hardy (P37426)
 Attorneys for Plaintiff                           David A. Porter (P76785)
 2145 Crooks Road, Suite 220                   Attorneys for Defendants
 Troy, MI 48084                                280 N. Old Woodward Ave., Suite 400
 (248) 385-5481                                Birmingham, MI 48009
 mark@rossmanpc.com                            (248) 645-0000
 liz@rossmanpc.com                             ehardy@khvpf.com
                                               dporter@khvpf.com
 J. Robert Flores
 Attorney for Plaintiff
 10410 Hampton Road
 Fairfax Station, VA 22039
 (703) 609-8731
 rfloresesq@verizon.net
                                                                                     /
                                   Index of Exhibits
Case 2:20-cv-11718-GAD-DRG ECF No. 43-1, PageID.800 Filed 01/31/22 Page 2 of 3




         Exhibit               Description
            1           Dr. Herman Gray Declaration

            1A          WSU School of Medicine Handbook

            1B          Promotions Committee Bylaws

            1C          Professionalism Committee Bylaws

            2           The Camaj Report

            3           Eid-Roe Texts

            4           10/25/18 Fake “Attorney” Email

            5           10/31/18 Mrs. Roe Email

            6           Google Records

            7           11/27/18 Camaj Letter

            8           12/5/18 Chadwell-Camaj Email Chain

            9           12/14/18 Jackson Email

            10          2/7/19 Professionalism Committee Minutes

            11          2/11/19 Professionalism Committee Letter

            12          Anthony Eid’s Promotions Committee Statement

            13          2/27/19 Promotions Committee Minutes

            14          Anthony Eid’s Promotions Comm Remarks

            15          Dr. Rodney Braun Declaration

            16          Dr. Eva Waineo Declaration
Case 2:20-cv-11718-GAD-DRG ECF No. 43-1, PageID.801 Filed 01/31/22 Page 3 of 3




            17          2/27/19 Promotions Committee Letter

            18          3/5/19 Eid Extension Email

            19          3/6/19 Muhammad-Chadwell Email

            20          Anthony Eid’s Promotions Committee Appeal

            21          4/10/19 Promotions Committee Appeal Letter

            22          Anthony Eid’s Provost Appeal

            23          5/7/19 Eid-Muhammad Email

            24          5/23/19 Provost Letter

            25          Dr. Margit Chadwell Deposition Excerpts

            26          Nikolina Camaj Deposition Excerpts

            27          Dr. Matt Jackson Deposition Excerpts

            28          Dr. Richard Baker Deposition Excerpts

            29          Anthony Eid Deposition II Excerpts

            30          Unpublished Case Law
437384




                                       2
